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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ABC Corporation I et al,

                        Plaintiff,                  CASE NO. 1:20-cv-04806

        v.                                          Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


             DEFENDANT GYROOR-US’ MOTION FOR CLARIFIACTION

       Defendant Gyroor-US (“Defendant” or “Gyroor-US”), by and through its counsel, moves

this Court for a clarification of its Order on November 15, 2022 [Dkt. 603], regarding “G-11 model”

hoverboard and requests as follow:

       On or about June 19, 2022, Defendant Gyroor filed a motion to clarify the Preliminary

Order [Dkt. 456] with the Court. Even though this Court denied Defendant Gyroor’s motion to

clarify [Dkt. 560] as moot, it is still unclear whether the “G-11 model” hoverboard (ASIN

B08RYMXRWM) is considered an accused products in this case.

       “An injunction ‘must not be broader than the legal justification for its entry.’” Common

Cause Ind. v. Lawson, 978 F.3d 1036, 1041 (7th Cir. 2020) (quoting Henderson v. Box, 947 F.3d

482, 487 (7th Cir. 2020)). This Court also recognizes that the scope of the preliminary injunction

is limited to Plaintiffs’ motion paper. [Dkt. 558, p. 2] (“review shows that Yanjin-US was included

in the chart in the proposed order even though it was not mentioned in the motion papers. Thus,

Yanjin-US should not have been referenced in the preliminary injunction order entered on October

13, 202 1, R. 456.”).

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       Plaintiffs made no allegations as to Gyroor-brand products – “G-11 model” hoverboard.

The “G-11 model” hoverboard should not be presumably infringing. The injunction should be

limited to the products in Plaintiffs’ motion paper [Dkt. 384, 385].

       First, Plaintiffs only alleged infringement against four types of Gyroor-brand products in

their motion paper – “Gyroor A,” “Gyroor B,” “Gyroor C,” and “Gyroor D.” [Dkt. 384, §I.A.2. ,

pp. 26-27]. The injunction should be limited to those four accused products.

       Second, the “G-11 model” has a distinct design from the other four accused products

(“Gyroor A (T581 model),” “Gyroor B (G 2 Model),” “Gyroor C (T580 model),” and “Gyroor D

(G 5 model)”). “G-11 model” is especially distinguishable because of its LED lit standing pedals

and wheel covers. [See Dkt. 560,p.3].

       Third, ASIN for “G-11 model” hoverboard (B08RYMXRWM) was only included in the

chart “Exhibit B” of the proposed order [Dkt. 456, p. 15], even though the “G-11 model”

hoverboard was never mentioned in Plaintiffs’ motion papers. On October 28, 2022, the proposed

Order ,[Dkt. 456] which includes the “G-11 model”, had been vacated by the Federal Circuit. As

a result, the “G-11 model” is no longer an accused products in this litigation. Moreover, Gyroor-

US has never sold any of the “G 11 model” hoverboard [Dkt. 473].

       On November 9, 2022, Plaintiffs filed another motion for Temporary Restraining Order

and Preliminary Injunction, which includes the “G-11 model” in this new motion again [Dkt. 593].

On November 15, 2022, the Court denied Defendant Gyroor’s motion to clarify as moot; however,

it is still unclear whether “G-11 model” is part of the accused products in this litigation.

       Therefore, Defendant respectfully requests this Court for clarification as to whether “G-11

model” hoverboard (ASIN B08RYMXRWM) is the accused products in this litigation.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this December 9, 2022, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




 Date: 12/9/2022                                 /s/ Yu Hao Yao




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